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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 RODRICK L. RICHARDSON.,

                Plaintiff,                                CIVIL ACTION NO.: 4:22-cv-181

        v.

 SHERIFF JOHN T. WILCHER, et al.,

                Defendants.


                                          ORDER

       After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge's August 15, 2022, Report and Recommendation, (doc. 10), to which plaintiff Richardson

has not objected. Several of Richardson’s filings were received by the Clerk after the Magistrate

Judge recommended Richardson’s claims be dismissed for his failure to keep the Court apprised

of his address. (See docs. 14 & 15.) Review of those documents shows, however, that they were

prepared before the Magistrate Judge’s Report and Recommendation. (See doc. 15 at 11-12

(dated August 8, 2022).) They do not, therefore, undermine the Magistrate Judge’s conclusion

that Richardson has not updated his address. Moreover, correspondence from the Clerk to

Richardson since the Report and Recommendation entered has been returned as undeliverable.

(See doc. 22, pp. 1, 5; doc. 24, pp. 1-2).     Therefore, the Court ADOPTS the Report and

Recommendation as its opinion. For the reasons discussed by the Magistrate Judge, Plaintiff

Roderick Richardson’s claims are DISMISSED. Because the Court has previously dismissed all
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other claims asserted in the Complaint, (see doc. 20), the case, as a whole, is DISMISSED. The

Clerk of Court is DIRECTED to CLOSE this case.

       SO ORDERED, this 9th day of September, 2022.




                                    R. STAN BAKER
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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